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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JONATHAN J. DIBELLO                          CIVIL ACTION


                  vs.                        NO: 13-5146

ALPHA CENTURION SECURITY, INC.
et al.


                                        ORDER

     AND NOW, this 15th day of April 2015, it having been reported that the issues between

the parties in this action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.l(b) of the Local Rules of Civil Procedure, it is ORDERED that this

action is DISMISSED WITHOUT PREJUDICE, pursuant to agreement of counsel.

      IT IS FURTHER ORDERED that Plaintiffs Motion to Amend/Correct (ECF Doc. No.

24) is DENIED AS MOOT.
